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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

FTX TRADING LTD., et al., 1                         Case No. 22-11068 (JTD)

         Debtors.                                   (Jointly Administered)

                                                     Obj. Deadline: Sept. 18, 2024 at 4:00 p.m. ET


                  TWENTIETH MONTHLY FEE STATEMENT OF
            QUINN EMANUEL URQUHART & SULLIVAN, LLP AS SPECIAL
            COUNSEL TO THE DEBTORS AND DEBTORS-IN-POSSESSION
          FOR COMPENSATION FOR PROFESSIONAL SERVICES RENDERED
         AND REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
            FROM JULY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024

Name of Applicant                                 Quinn Emanuel Urquhart & Sullivan, LLP
Authorized to Provide Professional Services to:   the Debtors and Debtors-in-Possession
Date of Retention:                                January 20, 2023 nunc pro tunc to
                                                  November 13, 2022
Period for which compensation and                 July 1, 2024 through and including July 31,
reimbursement is sought:                          2024
Amount of Compensation sought as actual,          $883,919.70
reasonable, and necessary:
80% of Compensation sought as actual,             $707,135.76
reasonable, and necessary:
Amount of Expense Reimbursement sought as         $167.01
actual, reasonable, and necessary:




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
    number are 3288 and 4063 respectively. Due to the large number of debtor entities in these
    Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
    identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s,
    Antigua and Barbuda.
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      This is a(n) X monthly ____ interim ____ final application. No prior application has been
      filed with respect to this Fee Period.



                           PRIOR MONTHLY FEE STATEMENTS FILED

                                                        Requested                          Approved
Date Filed    Period Covered       Requested Fees                      Approved Fees
                                                        Expenses                           Expenses
02/07/2023   Petition Date          $1,536,294.15          $4,323.07
             through and
             including
             December 31,
                                                                           $2,907,139.18      $5,632.62
             2022
03/06/2023   January 1, 2023        $1,440,414.90          $1,920.53
             through and
             including January
             31, 2023
04/07/2023   February 1, 2023       $2,781,198.90          $2,580.91
             through and
             including February
             28, 2023
05/01/2023   March 1, 2023          $3,192,717.60          $3,031.19
             through and
                                                                           $8,111,186.00      $4,176.13
             including March
             31, 2023
6/06/2023    April 1, 2023          $2,282,269.50          $3,382.59
             through and
             including April 30,
             2023
7/03/2023    May 1, 2023            $2,441,227.95          $1,802.88
             through and
             including May 31,
             2023
7/31/2023    June 1, 2023           $2,984,443.42         $10,858.66
             through and
                                                                           $9,839,020.82     $21,479.53
             including June 30,
             2023
9/06/2023    July 1, 2023           $4,538,349.45         $10,027.36
             through and
             including July 31,
             2023
9/29/2023    August 1, 2023         $3,462,251.40          $1,007.71
             through and
                                                                          $10,328,893.60      $7,465.37
             including August
             31, 2023



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                                                        Requested                         Approved
Date Filed    Period Covered       Requested Fees                      Approved Fees
                                                        Expenses                          Expenses
10/31/2023   September 1, 2023      $3,425,488.20          $3,446.41
             through and
             including
             September 30,
             2023
11/29/2023   October 1, 2023        $3,581,154.00          $4,211.31
             through and
             including October
             31, 2023
12/22/2023   November 1, 2023       $3,381,008.40          $1,416.74
             through and
             including
             November 30,
             2023
01/31/2024   December 1, 2023       $2,384,282.70          $9,126.44
             through and
                                                                          $7,425,521.65     $11,944.07
             including
             December 31,
             2023
2/29/2024    January 1, 2024        $1,785,230.55          $2,510.14
             through and
             including January
             31, 2024
3/28/2024    February 1, 2024       $1,478,179.35          $1,626.66               N/A            N/A
             through and
             including February
             29, 2024
4/26/2024    March 1, 2024          $1,881,348.07          $5,378.05               N/A            N/A
             through and
             including March
             31, 2024
5/31/2024    April 1, 2024          $1,248,358.05          $8,888.27               N/A            N/A
             through and
             including April 30,
             2024
7/5/2024     May 1, 2024            $1,582,704.90          $6,017.08               N/A            N/A
             through and
             including May 31,
             2024
7/31/2024    June 1, 2024             $824,760.45          $1,827.58               N/A            N/A
             through and
             including June 30,
             2024




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                           SUMMARY OF BILLING BY PROFESSIONAL
                    FROM JULY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024

                                                        Year of                   Total
                                          Year of                       Hourly                  Total
  Timekeeper Name            Position                  Law School                 Hours
                                         Admission                       Rate               Compensation
                                                       Graduation                 Billed
Sascha Rand              Partner            1998          1997      $1,678.50        70.20    $117,830.70
Katherine Lemire         Partner            1998          1997      $1,678.50        11.50     $19,302.75
Anthony Alden            Partner            2004          2003      $1,561.50        27.20     $42,472.80
Isaac Nesser             Partner            2003          2003      $1,521.00          0.50       $760.50
Andrew S. Corkhill       Partner            2007          2006      $1,422.00          1.30     $1,848.60
Matthew R. Scheck        Partner            2008          2007      $1,422.00        23.80     $33,843.60
William Sears            Partner            2015          2014      $1,354.50          1.40     $1,896.30
Emily Kapur              Partner            2015          2015      $1,354.50          1.80     $2,438.10
Jason Sternberg          Partner            2009          2009      $1,354.50          3.70     $5,011.65
Partner Total                                                                      141.40     $225,405.00
Tyler Murray             Counsel            2001          2000      $1,296.00        24.70     $32,011.20
Heather K. Christenson   Counsel            2014          2013      $1,296.00          1.20     $1,555.20
Andrew Kutscher          Counsel            2010          2009      $1,296.00          5.90     $7,646.40
Robert True              Counsel            2007          2006      $1,296.00        10.00     $12,960.00
Counsel Total                                                                        41.80     $54,172.80
Justine Young            Associate          2014          2013      $1,251.00        18.50     $23,143.50
Anil Makhijani           Associate          2013          2012      $1,251.00        34.30     $42,909.30
Jaclyn Palmerson         Associate          2016          2016      $1,246.50        38.60     $48,114.90
Isaac Saidel-Goley       Associate          2017          2017      $1,210.50        35.50     $42,972.75
Miao Xu                  Associate          2016          2015      $1,120.50          8.40     $9,412.20
Olivia Yeffet            Associate          2020          2020      $1,075.50        55.70     $59,905.35
Sophie Hill              Associate          2021          2020      $1,075.50      154.10     $165,734.55
Cameron Kelly            Associate          2020          2020      $1,075.50        28.20     $30,329.10
Sydney Snower            Associate          2022          2021        $985.50        16.10     $15,866.55
Tanmayi Sharma           Associate          2022          2021        $985.50          4.50     $4,434.75
Brenna Ledvora           Associate          2021          2021        $985.50        69.90     $68,886.45
James Bailey             Associate          2021          2019        $936.00          0.40       $374.40
Ben Carroll              Associate          2023          2022        $891.00        18.60     $16,572.60
Jeffrey Boxer            Associate          2022          2022        $891.00          1.10       $980.10
Jack Robbins             Associate          2023          2022        $891.00          1.20     $1,069.20
Elijah Turner            Associate          2023          2022        $891.00        19.60     $17,463.60
Jonathan Abrams          Associate          2023          2022        $891.00        20.70     $18,443.70
Johnston Hill            Associate          2024          2023        $792.00        41.40     $32,788.80
Jillian Farley           Associate          2024          2023        $792.00          0.20       $158.40
Grace Heinerikson        Associate          2024          2023        $792.00          2.50     $1,980.00
Brendan Ferguson         Associate          2024          2023        $792.00          0.60       $475.20
Taylor Ross              Law Clerk            -           2023        $544.50          2.50     $1,361.25
Associate, Law Clerk, & Attorney Total                                             572.60     $603,376.65
Lawyers Total                                                                      755.80     $882,954.45



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                                                            Year of                   Total
                                                Year of                     Hourly                  Total
  Timekeeper Name             Position                     Law School                 Hours
                                               Admission                     Rate               Compensation
                                                           Graduation                 Billed
Olga Garcia              Senior Paralegal          -           -            $643.50        1.50       $965.25
Non-Legal Professional Total                                                               1.50       $965.25
GRAND TOTAL                                                                            757.30     $883,919.70

                                         Blended Hourly Rate: $1,167.20




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                   STATEMENT OF FEES BY PROJECT CATEGORY 2
                 JULY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024

                     Project Name                                      Hours       Fee Amount
    ASSET ANALYSIS AND RECOVERY                                          17.00        $22,653.90
    AVOIDANCE ACTION ANALYSIS                                             7.60        $11,606.85
    BANKRUPTCY LITIGATION                                               112.50       $140,837.85
    BOARD / CORPORATE GOVERNANCE                                          7.40        $11,523.15
    EMPLOYMENT AND FEE APPLICATIONS                                      26.00        $32,824.80
    INVESTIGATION                                                       464.90       $498,555.00
    FRIEDBERG LITIGATION                                                  3.30         $5,424.30
    BANKMAN/FRIED LITIGATION                                              3.60         $4,351.50
    EMBED/ROCKET LITIGATION                                               0.20           $259.20
    EXAMINER                                                              1.10         $1,784.70
    MDL                                                                 113.70       $154,098.45
    TOTAL                                                               757.30       $883,919.70

                   SUMMARY OF ACTUAL AND NECESSARY EXPENSES

                                      Disbursement Summary
              Expense Category              Service Provider, 3 if Applicable         Amount
    Lexis Courtlink                        Lexis                                          $5.36
    Outside record production                                                             $3.00
    Document Reproduction ($.10/page)                                                    $22.20
    Color Document Reproduction
                                                                                           $19.50
    ($.25/page)
    Document Services                                                                     $113.75
    Other                                                                                   $3.20
                                                                       TOTAL              $167.01




2
      The subject matter of certain time entries may be appropriate for more than one project
      category. In such instances, time entries generally have been included in the most appropriate
      category. Time entries do not appear in more than one category.
3
      Quinn Emanuel Urquhart & Sullivan, LLP may use one or more service providers. The service
      providers identified herein are the primary service providers for the categories described.




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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

FTX TRADING LTD., et al., 1                         Case No. 22-11068 (JTD)

         Debtors.                                   (Jointly Administered)



          TWENTIETH MONTHLY FEE STATEMENT OF QUINN EMANUEL
               URQUHART & SULLIVAN, LLP AS SPECIAL COUNSEL
              TO THE DEBTORS AND DEBTORS-IN-POSSESSION FOR
           COMPENSATION FOR PROFESSIONAL SERVICES RENDERED
         AND REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
           FROM JULY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024

         Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”), special counsel to FTX

Trading Ltd. and its affiliated debtors and debtors-in-possession in the above-captioned cases

(collectively, the “Debtors”), hereby submits this monthly fee statement (this “Monthly Fee

Statement”) for compensation for professional services rendered and expenses incurred for the

period from July 1, 2024 through and including July 31, 2024 (the “Fee Period”). In support of

the Monthly Fee Statement, Quinn Emanuel respectfully states as follows:

                                          Background

         1.     On November 11 and November 14, 2022, 2 the Debtors filed with the United States


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
    number are 3288 and 4063 respectively. Due to the large number of debtor entities in these
    Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
    identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s,
    Antigua and Barbuda.
2
    November 11, 2022 is the petition date for all Debtors, except for Debtor West Realm Shires
    Inc.
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Bankruptcy Court for the District of Delaware (the “Court”) voluntary petitions for relief under

title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended or modified, the

“Bankruptcy Code”).     The Debtors continue to operate their businesses and manage their

properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

Joint administration of the Debtors’ cases (the “Chapter 11 Cases”) was authorized by the Court

by entry of an order on November 22, 2022 [D.I. 128]. On December 15, 2022, the Office of the

United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an Official

Committee of Unsecured Creditors (the “Committee”) pursuant to section 1102 of the Bankruptcy

Code [D.I. 231].

       2.      On January 9, 2023, the Court entered the Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 435] (the “Interim

Compensation Order”).

       3.      On January 20, 2023, the Court entered the Order Authorizing the Retention and

Employment of Quinn Emanuel Urquhart & Sullivan, LLP as Special Counsel for the Debtors and

Debtors in Possession, Nunc Pro Tunc to November 13, 2022, [D.I. 548] authorizing the retention

and employment of Quinn Emanuel as the Debtors’ special counsel, nunc pro tunc to November

13, 2022.

       4.      On March 8, 2023, the Court entered the Order (I) Appointing Fee Examiner and

(II) Establishing Procedures for Consideration of Requested Fee Compensation and

Reimbursement of Expenses [D.I. 834] appointing Katherine Stadler (the “Fee Examiner”) to serve

as the fee examiner in these Chapter 11 Cases and establishing certain procedures in connection

therewith.

                                       Relief Requested

       5.      By this Monthly Fee Statement and in accordance with the Interim Compensation



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Order, Quinn Emanuel makes this application for (i) allowance of compensation as an

administrative expense of the Debtors’ estates in the amount of $883,919.70 for reasonable and

necessary professional services rendered, (ii) payment of compensation in the amount of 80%

thereof (in the amount of $707,135.76), and (iii) payment of $167.01 for actual and necessary

expenses incurred.

       a. Compensation Requested

       6.      The services performed by Quinn Emanuel during the Fee Period included, among

others, asset analysis and recovery, avoidance action analysis, bankruptcy litigation, board of

directors and corporate governance, investigations, and general case administration. Attached

hereto as Exhibit A is a detailed itemization, by project category, of all services performed by

Quinn Emanuel with respect to the Chapter 11 Cases during the Fee Period. This detailed

itemization complies with Local Rule 2016-2 in that each time entry (i) contains a separate time

allotment, (ii) contains a description of the type of activity and the subject matter of the activity,

(iii) is billed in increments of one-tenth (1/10) of an hour, (iv) is presented chronologically in

categories, and (v) individually identifies all meetings or hearings.

       7.      The timekeepers who rendered services related to each category are identified in

Exhibit A, along with the number of hours for each individual and the total compensation sought

by each category. All services for which Quinn Emanuel requests compensation were performed

for, or on behalf of, the Debtors.

       b. Expense Reimbursement

       8.      Quinn Emanuel incurred out-of-pocket expenses during the Fee Period in the

amount of $167.01. Attached hereto as Exhibit B is a description of the expenses actually incurred

by Quinn Emanuel in the performance of services rendered as Special Counsel to the Debtors. The




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expenses are broken down into categories of charges, which may include, among other things, the

following charges: photocopying, printing, outgoing facsimiles, document retrieval, postage, third-

party conference calls, messenger service, transcripts, computerized legal research, filing fees,

working meals, secretarial overtime, and other expenses.

       9.      In accordance with section 330 of the Bankruptcy Code, Quinn Emanuel seeks

reimbursement only for the actual cost of such expenses to Quinn Emanuel. Quinn Emanuel

submits that all such expenses incurred were customary, necessary, and related to the Chapter 11

Cases and, by this Monthly Fee Statement, requests reimbursement of the same.

                                      Valuation of Services

       10.     Professionals of Quinn Emanuel have expended a total of 757.3 hours in connection

with this matter during the Fee Period.

       11.     The amount of time spent by each of the professionals providing services to the

Debtors for the Fee Period is set forth in Exhibit A. The rates are Quinn Emanuel’s normal hourly

rates of compensation for work of this character, discounted by 10%.

       12.     The reasonable value of the services rendered by Quinn Emanuel for the Fee Period

as Special Counsel for the Debtors in the Chapter 11 Cases is $883,919.70.

       13.     Quinn Emanuel believes that the time entries included in Exhibit A attached hereto

and the expense breakdown set forth in Exhibit B attached hereto are in compliance with the

requirements of Local Rule 2016-2.

       14.     In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

the amount requested is fair and reasonable given the complexities of these Chapter 11 Cases, the

time expended, the nature and extent of the services rendered, the value of such services, and the

costs of comparable services other than in a case under this title.




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                              Certificate of Compliance and Waiver

       15.     The undersigned representative of Quinn Emanuel certifies that he has reviewed

the requirements of Local Rule 2016-2 and that the Monthly Fee Statement substantially complies

with such rule. To the extent that the Monthly Fee Statement does not comply in all respects with

the requirements of Local Rule 2016-2, Quinn Emanuel believes that such deviations are not

material and respectfully requests that any such requirements be waived.

                                  Notice and No Prior Request

       16.     Notice of this Monthly Fee Statement has been given to the following parties or, in

lieu of, to their counsel, if known: (a) the U.S. Trustee; (b) the Official Committee of Unsecured

Creditors; (c) the Fee Examiner; and (d) all parties required to be given notice in the Interim

Compensation Order. Quinn Emanuel submits that no other or further notice is necessary.

       17.     No prior request for the relief sought in this Monthly Fee Statement has been made

to this or any other Court.

       WHEREFORE, Quinn Emanuel respectfully requests that the Bankruptcy Court

(i) approve the Monthly Fee Statement and (ii) grant such further relief as is just and proper.



Dated: New York, New York
       August 29, 2024

                                              /s/ Sascha N. Rand
                                              Sascha N. Rand
                                              Partner, Quinn Emanuel Urquhart & Sullivan, LLP




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